        Case 8-17-08180-las                Doc 14        Filed 10/02/17    Entered 10/02/17 16:10:17




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In re:                                                                    Chapter 7

Robert Abrahamsen,                                                        Case No. 8-16-74128-las

                          Debtor.
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Robert Abrahamsen,
                                                                          Adv. Proc. No. 8-17-08180-las
                              Plaintiff,

                    v.

Craig Scott Taddonio,

                              Defendant.
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                                            ORDER TO SHOW CAUSE

          This adversary proceeding was commenced on May 31, 2017 by the filing of a

complaint [Adv. Dkt. No. 1]. The summons was issued on May 31, 2017 [Adv. Dkt. No. 2].

Amended complaint was filed on June 2, 2017 [Adv. Dkt. No. 6]. Supplemental summons was

issued on August 8, 2017 [Adv. Dkt. No. 8]. Second supplemental summons was issued on

September 27, 2017 [Adv. Dkt. No. 13]. Plaintiff has failed to serve the summons and

complaint on defendant pursuant to Rule 4(m) of the Federal Rules of Civil Procedure, as

made applicable by Rule 7004 of the Federal Rules of Bankruptcy Procedure, and the time to

serve the complaint has expired.

          Accordingly, plaintiff shall appear and show cause before the undersigned Bankruptcy

Judge, at Courtroom 970, Alfonse M. D’Amato Federal Courthouse, 290 Federal Plaza,
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Central Islip, New York 11722, October 19, 2017 at 10 a.m. why an order should not be

issued dismissing this adversary proceeding for failure to prosecute.

       SO ORDERED.




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 Dated: October 2, 2017                                           Louis A. Scarcella
        Central Islip, New York                            United States Bankruptcy Judge
